  AO 2445B (Rev. AO 09/1
                       11-CAN 7/14) Jud
                                      dgment in Criminall Case
             Sheet 1


                                        NITED STATES  S DISTR    RICT CO OURT
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                                                                  Californiia
             UNITE
                 ED STATESS OF AMER
                                  RICA                                  ) JUD
                                                                            DGMENT IN
                                                                                    N A CRIMIINAL CASE
                                                                                                     E
                         v.                                             )
                      Thomas Yu                                         )     USDC C Case Numbeer: CR-11-006664-002 JSW
                                                                        )     BOP Case Number: DCAN411CR       R00664-002
                                                                        )     USM Number: 162298-111
                                                                        )     Defenndant’s Attorneey: George Cootsirilos (Retainned)


  THE DEFENDAN    NT:
      pleaded guilty
                   y to count(s): Six
                                  S
      pleaded nolo contendere
                   c           to count(s):
                                   c        _____
                                                ______ which was accepted bby the court.
      was found guiilty on count(s)): __________
                                               _ after a plea off not guilty.

  The ddefendant is adj
                     djudicated guiltty of these offeenses:
  Title & Section                 Na ature of Offen nse                                                        Offfense Ended          Count
  18 U..S.C. § 371                Co onspiracy to Co  ommit False Bank
                                                                  B    Entries, R
                                                                                Reports and                    Noovember 2009          Six
                                  Trransactions


  The ddefendant is sen
                      ntenced as prov
                                    vided in pages 2 through 5 of this judgm
                                                                           ment. The sentennce is imposedd pursuant to thhe Sentencing
  Reforrm Act of 1984 4.

        The defendant has been founnd not guilty on
                                                  n count(s): ___
                                                                ________
        Counts 1, 2, 3,
                     3 4, 5 & 7 are dismissed on the
                                                  t motion of the
                                                                t United Stattes.

      Itt is ordered th hat the defendaant must notiffy the United States attorneyy for this disttrict within 300 days of any change of nam    me,
residencce, or mailing address until all
                                      a fines, restitu
                                                     ution, costs, an
                                                                    nd special assesssments imposed by this judggment are fullyy paid. If ordeered
to pay rrestitution, the defendant musst notify the court and Unitedd States attorneey of material cchanges in econnomic circumsstances.

                                                                            8/30/20116
                                                                            Date of Imposition of Judgment


                                                                            Signaturre of Judge
                                                                            The Honnorable Jeffreyy S. White
                                                                            United S
                                                                                   States District Judge
                                                                            Name & Title of Judgee

                                                                            8/31/20116
                                                                            Date
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                                                              PROBATION
The defendant is hereby sentenced to probation for a term of: Five (5) years.

The appearance bond is hereby exonerated. Any cash bail plus interest shall be returned to the owner(s) listed on the Affidavit of
Owner of Cash Security form on file in the Clerk's Office
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
      substance abuse. (Check, if applicable.)
      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
      Thelidefendant
              bl ) shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
      seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
      resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)


                                       STANDARD CONDITIONS OF SUPERVISION
1)       The defendant shall not leave the judicial district without the permission of the court or probation officer;
2)       The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
         days of each month;
3)       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;
4)       The defendant shall support his or her dependents and meet other family responsibilities;
5)       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
         other acceptable reasons;
6)       The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
         convicted of a felony, unless granted permission to do so by the probation officer;
10)      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view of the probation officer;
11)      The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
12)      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court; and
13)      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics and shall permit the probation officer to make such
         notifications and to confirm the defendant’s compliance with such notification requirement.
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                                         SPECIAL CONDITIONS OF SUPERVISION



1.       The defendant shall pay any fine and special assessment that is imposed by this judgment and that
         remains unpaid at the commencement of the term of supervised release.

2.       The defendant shall provide the probation officer with access to any financial information, including tax
         returns, and shall authorize the probation officer to conduct credit checks and obtain copies of income
         tax returns.

3.       The defendant shall submit his person, residence, office, vehicle, or any property under his control to a
         search. Such a search shall be conducted by a United States Probation Officer at a reasonable time and
         in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a
         condition of release. Failure to submit to such a search may be grounds for revocation; the defendant
         shall warn any residents that the premises may be subject to searches.

4.        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

5.       The defendant shall not own or possess any firearms, ammunition, destructive devices, or other
         dangerous weapons.

6.       The defendant shall complete 100 hours of community service as directed by the U.S. Probation Officer.
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                                                  CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments.

                                                      Assessment                                    Fine                                   Restitution
TOTALS                                                   $ 100                                     $ 4,000                                    None



      The determination of restitution is deferred until __________. An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.
      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.


           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
           otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
           nonfederal victims must be paid before the United States is paid.
Name of Payee                                         Total Loss                          Restitution Ordered                     Priority or Percentage




TOTALS                                                   $ 0.00                                    $ 0.00


       Restitution amount ordered pursuant to plea agreement $ __________
       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
               the interest requirement is waived for the fine/restitution.
               the interest requirement is waived for the fine/restitution is modified as follows:
                __________





  Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994, but
before April 23, 1996.
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                                                               SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A              Lump sum payment of __$4,100___________________ due immediately, balance due

                        not later than __________ , or
                        in accordance with        C,                  D, or          E, and/or              F below); or

B              Payment to begin immediately (may be combined with                             C,          D, or        F below); or

C              Payment in equal __________ (e.g., weekly, monthly, quarterly) installments of ___________ over a period of
               __________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D              Payment in equal __________ (e.g., weekly, monthly, quarterly) installments of ___________ over a period of
               __________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or
E              Payment during the term of supervised release will commence within __________ (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F              Special instructions regarding the payment of criminal monetary penalties:
               Criminal monetary payments shall be made to the Clerk of U.S. District Court, 450 Golden Gate Ave., Box 36060, San
               Francisco, CA 94102, in monthly payments of not less than $500 or at least 10 percent of earnings, whichever is greater, to
               commence no later than 60 days from placement on supervision. Any established payment plan does not preclude
               enforcement efforts by the US Attorney's Office if the defendant has the ability to pay more than the minimum due.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

    Joint and Several

Case Number                                                       Total Amount              Joint and Several                        Corresponding Payee,
Defendant and Co-Defendant Names                                                                Amount                                  if appropriate
(including defendant number)


       The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s): __________

       The defendant shall forfeit the defendant’s interest in the following property to the United States:

       The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or
       part of the restitution ordered herein and may order such payment in the future, but such future orders do not affect the
       defendant’s responsibility for the full amount of the restitution ordered.





 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
